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 Juan P. Morillo (pro hac vice)                 Scott C. Shelley
 Gabriel F. Soledad                             Samantha Gillespie (pro hac vice)
 Daniel Pulecio-Boek                            QUINN EMANUEL URQUHART &
 QUINN EMANUEL URQUHART &                       SULLIVAN, LLP
 SULLIVAN, LLP                                  51 Madison Avenue, 22nd Floor
 1300 I Street, NW, Suite 900                   New York, New York 10010
 Washington, D.C. 20005                         Telephone: (212) 849-7000
 Telephone: (202) 538-8000                      Facsimile: (212) 849-7100
 Facsimile: (202) 538-8100                      Email: scottshelley@quinnemanuel.com
 Email: juanmorillo@quinnemanuel.com            Email: samanthagillespie@quinnemanuel.com
 Email: gabrielsoledad@quinnemanuel.com
 Email: danielpulecioboek@quinnemanuel.com

 Eric Winston (pro hac vice)                    Sara C. Clark (pro hac vice)
 QUINN EMANUEL URQUHART &                       QUINN EMANUEL URQUHART &
 SULLIVAN, LLP                                  SULLIVAN, LLP
 865 South Figueroa Street, 10th Floor          711 Rusk Street, Suite 500
 Los Angeles, California 90017                  Houston, Texas 77002
 Telephone: (213) 443-3000                      Telephone: (713) 221-7000
 Facsimile: (213) 443-3100                      Facsimile: (713) 221-7100
 Email: ericwinston@quinnemanuel.com            Email: saraclark@quinnemanuel.com

Counsel for the Plaintiffs

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                       BK Case No. 18-11094 (SCC)
                                              (Jointly Administered) (Chapter 15)
 PERFORADORA ORO NEGRO,
 S. DE R.L. DE C.V., et al.

 Debtors in a Foreign Proceeding.

 GONZALO GIL-WHITE, PERSONALLY                Adversary Case No. 19-01294 (SCC)
 AND IN HIS CAPACITY AS FOREIGN
 REPRESENTATIVE OF PERFORADORA
 ORO NEGRO, S. DE R.L. DE C.V. AND
 INTEGRADORA DE SERVICIOS
 PETROLEROS ORO NEGRO, S.A.P.I. DE
 C.V.
                  Plaintiff,
      -against-

 ALP ERCIL; ALTERNA CAPITAL
 PARTNERS, LLC; AMA CAPITAL
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 PARTNERS, LLC; ANDRES
 CONSTANTIN ANTONIUS-GONZÁLEZ;
 ASIA RESEARCH AND CAPITAL
 MANAGEMENT LTD.; CQS (UK) LLP;
 FINTECH ADVISORY, INC.; DEUTSCHE
 BANK MÉXICO, S.A.; INSTITUCIÓN DE
 BANCA MÚLTIPLE; GARCÍA
 GONZÁLEZ Y BARRADAS ABOGADOS,
 S.C.; GHL INVESTMENTS (EUROPE)
 LTD.; JOHN FREDRIKSEN; KRISTAN
 BODDEN; MARITIME FINANCE
 COMPANY LTD.; NOEL BLAIR HUNTER
 COCHRANE, JR; ORO NEGRO PRIMUS
 PTE., LTD.; ORO NEGRO LAURUS PTE.,
 LTD.; ORO NEGRO FORTIUS PTE., LTD.;
 ORO NEGRO DECUS PTE., LTD.; ORO
 NEGRO IMPETUS PTE., LTD.; PAUL
 MATISON LEAND, JR.; ROGER ALAN
 BARTLETT; ROGER ARNOLD
 HANCOCK; SEADRILL LIMITED; SHIP
 FINANCE INTERNATIONAL LTD.; and
 DOES 1-100
                   Defendants.

             NOTICE OF ADJOURNMENT OF PRE-TRIAL CONFERENCE


       PLEASE TAKE NOTICE that the pre-trial conference (the “Conference”) on the

proceeding commenced by the Complaint filed in the above-captioned matter previously set for

August 13, 2019, at 2:00 p.m. (prevailing Eastern Time) before the Honorable Shelley C. Chapman,

United States Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District

of New York, Courtroom 623, One Bowling Green, New York, New York 10004, has been

adjourned. The Court will reset the hearing for a date to be determined.
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Dated: August 7, 2019                   QUINN EMANUEL URQUHART &
       New York, New York               SULLIVAN, LLP

                                          /s/ Gabriel F. Soledad             .
                                        Gabriel F. Soledad
                                        Juan P. Morillo (pro hac vice)
                                        Daniel Pulecio-Boek
                                        1300 I Street, NW, Suite 900
                                        Washington, D.C. 20005
                                        Telephone: (202) 538-8000
                                        Facsimile: (202) 538-8100
                                        Email: gabrielsoledad@quinnemanuel.com
                                        Email: juanmorillo@quinnemanuel.com
                                        Email: danielpulecioboek@quinnemanuel.com

                                        Scott C. Shelley
                                        Samantha Gillespie (pro hac vice)
                                        51 Madison Avenue, 22nd Floor
                                        New York, NY 10010
                                        Telephone: 212-849-7000
                                        Facsimile: 212-849-7100
                                        Email: scottshelley@quinnemanuel.com
                                        Email: samanthagillespie@quinnemanuel.com

                                        Eric Winston (pro hac vice)
                                        865 South Figueroa Street, 10th Floor
                                        Los Angeles, California 90017
                                        Telephone: (213) 443-3000
                                        Facsimile: (213) 443-3100
                                        Email: ericwinston@quinnemanuel.com

                                        Sara C. Clark (pro hac vice)
                                        711 Rusk Street, Suite 500
                                        Houston, Texas 77002
                                        Telephone: (713) 221-7000
                                        Facsimile: (713) 221-7100
                                        Email: saraclark@quinnemanuel.com

                                        Counsel for the Plaintiffs
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 7, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to all

“Accepting Defendants” as defined in Dkt. #81 and Notice was Provided via FedEx and email

service to the following entities/parties:

Andres Constantin Antonius-Gonzalez
405 East 56th Street Apt. 14G
New York, New York 10022
aantonius@plan-b.com.mx

Deutsche Bank Mexico, S.A.
House Address Pedregal 24
Colonia Molino del Rey
Piso 20
Mexico City, DF 11040 Mexico
gerardo.sainz@db.com
gabriel.arroyo@db.com
juan.oberhauser@db.com
isabel.ocana@db.com

Garcia Gonzalez Y Barradas Abogados, S.C.
Prado Norte No. 135
3° Piso, Lomas de Chapultepec I Secció, Miguel Hidalgo
México, CIUDAD DE MEXICO, 11000 Mexico
robertogarcia@ggyb.mx
guillermobarradas@ggyb.mx

John Fredriksen
15 Sloane Square
London SW1W 8ER
United Kingdom
                                                                        /s/Sara Clark
                                                                        Sara Clark



        1
          The Accepting Defendants are Alp Ercil; Alterna Capital Partners, LLC; AMA Capital Partners,
LLC; Asia Research and Capital Management Ltd.; CQS (UK) LLP; Fintech Advisory, Inc.; GHL
Investments (Europe) Ltd.; Kristan Bodden; Maritime Finance Company Ltd.; Noel Blair Hunter Cochrane,
Jr; Oro Negro Primus Pte., Ltd.; Oro Negro Laurus Pte., Ltd.; Oro Negro Fortius Pte., Ltd.; Oro Negro
Decus Pte., Ltd.; Oro Negro Impetus Pte., Ltd.; Paul Matison Leand, Jr.; Roger Alan Bartlett; Roger Arnold
Hancock; Seadrill Limited; and Ship Finance International Ltd.
